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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens              POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
        Clerk                        CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                        Filed: March 12, 2024

                                                Notice



Mr. Jonathan F. Mitchell
Mitchell Law
111 Congress Avenue, Suite 400
Austin, TX 78701

Mr. William Byrne Sullivan
1919 M Street, N.W., Suite 800
Washington, DC 20036

                      Re: No. 23-5770
                          City of Pikeville, KY v. Cebridge Acquisition, LLC, et al

Dear Counsel,

   The Court has determined that oral argument is not required. See I.O.P. 34(a)(4). The case
noted above is scheduled for submission to the Court on the briefs of the parties and the record
on Thursday, May 2, 2024. You will be promptly advised of the Court's decision, or any other
order or direction it may issue.

                                                    Sincerely yours,

                                                    s/Karen S. Fultz
                                                    Calendar Deputy

cc: Ms. Monica Hobson Braun
    Mr. Russell Homer Davis, Jr.
    Ms. Amy E. Richardson
    Ms. Shannon A. Singleton
